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UNITED STATES DISTRIC'I` COURT

EASTERN DIS'I`RICT OF LOUISIANA

JosHUA ADAMS Am) KRIST.|;N AI)AMS, * CIvlL AcnoN
mulvaALLY AND oN BEHALF 0F *
THEIR MlNoR CH];LDREN, mus'mr *
NICGLE ADAMS ANn BRAXT()N - No. 03-755
o'NEAL ADAMS *
l
vERSIJS * SECTIoN “c“
*
uccUPATIONAL MEDICINE SERVICES, *
L.L.c., LENNY A. FoLsE, N.P. AND * MAG. 1
RoBERT W. DAVIS, M.D. ~
*
I‘I*'.k'l‘l**********I*I*IIII*I***
l B§T SUPPLEM§MAL 339 AMEND]NG gommm;[ §§ QF leHI
T FEnEnAL RULES Pn nn nn .R.c.r.

NOW lIN'I`O COUR'I`, through undersigned counsel, come plairniffs, Joshua Adams and
Kristin Adama, individually and on behalf of their minor ehildren, Kristin Nicele Adama and
Braxton O’Neal Adama, who file this Firat Snpplemental and Amending Complaint pursuant to
F.R.C.P. 15(3):

1.

The original Complaint for Damagea and Trial by Jury in this matter was filed on January
25, 2008.

2.

As of this date, ne answer er other responsive pleading has been filed by any defendant.

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3.

By supplementing and amending the caption of this matter to include as a party

defendant, American Casualty Company of Bteading, Permsylvania.
4.

By supplementing and amending paragraph l of the original Complaint for Damages to
add a sub-part 4 to read as follows:

4. Ameriean Casualty Company of Reading, Pennay|vania, is a foreign insurer
domiciled in the State of Pennsylvania and having its principal place of business
in the State of Illinois at 333 S. Wabash Avenue, Chieago, Illinois 60604 but
authorized to do and/or doing business within the State of Louisiana and within
the jurisdiction of this Honorable Court.

5.

' in en pertinent ames herete, eeia defenders had in fell reree end eneet e peiiey er
professional liability insurance, issued to and insuring defendant, Lenny A. Folse, N.P. against
the risk asserted herein and, as such said defendant is directly liable to your plaintiffs, for such
damages as may be deemed reasonable in the premises, pursuant to the Louisiana Direct Action
Statute.

WHEREFORE, plaintiffs Joshua Adams and Kristin Adams, individually and on behalf
of their minor children, Kristin Nicole Adams and Braxton O'Neal Adams, reiterate each and
every allegation filed in their original Complaint for Damages and Trial by Jury and pray that in
addition defendant, American Casualty Company of R.eading, Pennsylvania, be served with a
copy of the original Complaint for Damages and Trial by Jury and this First Supplemental and
Amending Cornplaint and that after all legal delays and due proceedings had, there be judgment

herein in favor of plaintiffs and against defendants, jointly, severally and in solido, in such

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amounts as may be deemed reasonable in the premises and for all other relief originally prayed

for.
Respectfully submitted,

THE GLORIOSO LAW F]RM

/%§>MM-ee/le ,

VINCENTU. GLORIOSO, IR. (#6064)
MARIA B. GLORIOSO (#2443 5)
V]NCENT .l. GLORIOSO, ]II (#26896)
815 Baronne Street

New Orleans, LA 70113

Telephone: (504) 569-9999

Facsimile: (504) 569-9022

Attnmeys for Plalntiii`s

RVE:

AMERICAN CASUALTY COM]"ANY OF READING, PENNSYLVANIA
Through the Louisiana Secretary of State:

Mr. Al Ater

3851 Essen I..ane

Baton Rouge, LA 70804

